                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                     Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                     Case No. 17-12560 (JKS)
al.,1
                                                                           (Jointly Administered)
                           Remaining Debtors.

MICHAEL GOLDBERG, in his capacity as Liquidating
Trustee of WOODBRIDGE LIQUIDATION TRUST,
                                                                           Adversary Proceeding
                                         Plaintiff,                        Case No. 19-50974 (JKS)
                          vs.

HAROLD PLAIN,
                                                                           Ref Docket. No. 64
                                        Defendant.


                                         AFFIDAVIT OF SERVICE

STATE OF OHIO                       )
                                    ) ss.:
COUNTY OF FRANKLIN                  )

ANGELA CHACHOFF, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action and Claims Solutions, Inc., located
   at 5151 Blazer Parkway, Suite A, Dublin, Ohio 43017. I am over the age of eighteen years
   and am not a party to the above-captioned action.

2. On March 8, 2022, I caused to be served the “Order” dated February 23, 2022, [Docket No.
   64], by causing a true and correct copy to be




1        The Remaining Debtors and the last four digits of their respective federal tax identification number are as
         follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
         LLC (0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, CA
         91203.




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 delivered via electronic mail to the following parties: hal.plain@gmail.com, and
 drplain@gmail.com.


                                                                /s/ Angela Chachoff
                                                                Angela Chachoff
Sworn to before me this
9th day of March, 2022
/s/ Andrea R. Speelman
Andrea R. Speelman
Notary Public, State of Ohio
Commission Expires March 21, 2024




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